                                           Case 18-60018 Document  69 Filed
                                                           UNITED STATES    in TXSB COURT
                                                                         BANKRUPTCY on 01/08/19 Page 1 of 10
                                                              SOUTHERN AND WESTERN DISTRICTS OF TEXAS
                                                                          Houston
                                                                        ______________ DIVISION

         CASE NAME: Garden Oaks Maintenance Org, Inc.
                    __________________________________________                                                                    04/11/2018
                                                                                                                   Petition Date: __________________

                                                                                                                                            18-60018
                                                                                                                               CASE NUMBER: __________________



MONTHLY OPERATING REPORT SUMMARY FOR MONTH____________YEAR
                                           November
                                          August
                                           September       ______
                                                           2018


                           MONTH                                  04/2018           05/2018           06/2018           07/2018           08/2018             09/2018

 REVENUES (MOR-6)                                                 82,222.71         179.24             70,495.73        65,411.36         24,183.62           9.77

 INCOME BEFORE INT, DEPREC./TAX (MOR-6)                           75,033.71         3164.52            64,948.25        60,954.54         20,550.63           (-3352.99)
                                                                                                                                                              9.77

 NET INCOME (LOSS) (MOR-6)                                        75,033.71         3164.52            64,948.25        60,954.54         20,550.63           (-3352.99)

 PAYMENTS TO INSIDERS (MOR-9)

 PAYMENTS TO PROFESSIONALS (MOR-9)                                4953.14           (-4953.14)         2042.65          0.00              652.50               0.00

 TOTAL DISBURSEMENTS (MOR-8) 4002.86 5547.48 4336.56 3276.39



***The original of this document must be filed with the United States Bankruptcy Court and a copy must be sent to the United States Trustee***
                                                                                                                                       CIRCLE ONE
                                                                        Are all accounts receivable being collected within terms? Yes No Cash Basis Accounting
REQUIRED INSURANCE MAINTAINED                                           Are all post-petition liabilities, including taxes, being paid within terms? Yes No
 AS OF SIGNATURE DATE         EXP.
                                                                        Have any pre-petition liabilities been paid? Yes No If so, describe
_____________________________      DATE
                                                                         ______________________________________________________________________________________
CASUALTY                    YES(   ) NO(   )    ___-___-___
LIABILITY                   YES(   ) NO(   )    ___-___-___             Are all funds received being deposited into DIP bank accounts? Yes No As of June     4, 16
                                                                                                                                                          Aug.  2018
                                                                                                                                                                   court ordered interest
VEHICLE                     YES(   ) NO(   )    ___-___-___             Were any assets disposed of outside the normal course of business? Yes No         bearing account.
WORKER'S                    YES(   ) NO(   )    ___-___-___             If so, describe __________________________________________________________________________
OTHER_________________      YES(   ) NO(   )    ___-___-_ _
                                                                        Are all U. S. Trustee Quarterly Fee Payments current? Yes No
                                                                          What is the status of your Plan of Reorganization ?
 ATTORNEY NAME: Johnie Patterson                                           Jan 8, 2019 new date for : Disclosure due Dec. 20, 2018
                                                                         _____________________________________________________________________________________
 FIRM: Walker & Patterson
 ADDRESS: P.O. Box 61301                                                                     I certify under penalty of perjury that the following complete
 ADDRESS:                                                                                    Monthly Operating Report (MOR), consisting of MOR-1 through
 CITY, STATE ZIP: Houston, TX 77208                                                          MOR-9 plus attachments, is true and correct.
 TELEPHONE: (713) 956-5577
                                                                                             SIGNED________________________________________________
                                                                                                                (ORIGINAL SIGNATURE)



              MOR-1                                                                                Office Manager, GOMO
                                                                                           TITLE ________________________________________________
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    CASE NAME: Garden Oaks Maintenance Organization                       Petition Date: 04/22/2018
                                                                          CASE NUMBER: 18-60018

                        MONTHLY OPERATING REPORT SUMMARY FOR MONTH:                                       November      2018

MONTH                                            Apr-18     May-18         Jun-18    Jul-18   Aug-18          Sep-18       Oct-18      Nov-18
REVENUES (MOR-6)                             82,222.71      179.24     70,495.73 65,411.36 24,183.62            9.77       10.14         9.86
INCOME BEFORE INT, DEP/TAX (MOR-6)           75,033.71    3,164.52     64,948.25 60,954.54 20,550.63      (3,352.99)   (4,588.39)   (1,488.31)
NET INCOME (LOSS) (MOR-6)                    75,033.71    3,164.52     64,948.25 60,954.54 20,550.63      (3,352.99)   (4,588.39)   (1,488.31)
PAYMENTS TO INSIDERS (MOR-9)
PAYMENTS TO PROFESSIONALS (MOR-9)             4,953.14    (4,953.14)   2,042.65        0.00      652.50        0.00        0.00         0.00
TOTAL DISBURSEMENTS (MOR-8)                                4,002.86    5,547.48    4,336.56    3,276.39    3,241.15    4,427.69     2,054.08

                 MOR-1
                                         Case 18-60018 Document 69 Filed in TXSB on 01/08/19 Page 3 of 10


CASE NAME: Garden Oaks Maintenance Organization                               Petition Date: 04/22/2018
                                                                              CASE NUMBER: 18-60018
COMPARATIVE BALANCE SHEETS

                                              Filing Date       MONTH            MONTH          MONTH         MONTH         MONTH         MONTH         MONTH         MONTH
ASSETS                                             4/11/18         Apr-18          May-18          Jun-18        Jul-18       Aug-18        Sep-18         Oct-18       Nov-18
CURRENT ASSETS
CASH                                              501,708.65    576,688.80      579,853.32     644,801.57     705,876.37    726,783.60    723,552.22    719,134.67    717,090.45
ACCOUNTS RECIEVABLE, NET
INVENTORY: LOWER OF COST OR MARKET
PREPAID EXPENSES
INVESTMENTS
OTHER
TOTAL CURRENT ASSETS
PROPERTY, PLANT & EQUIP, @COST                      5,058.29      5,058.29         5,058.29       5,058.29      5,058.29      5,058.29      5,058.29      5,058.29      5,058.29
LESS ACCUMULATED DEPRECIATION                      (3,990.49)    (3,990.49)       (3,990.49)     (3,990.49)    (3,990.49)    (3,990.49)    (3,990.49)    (3,990.49)    (3,990.49)
NET BOOK VALUE OF PP & E                            1,067.80      1,067.80         1,067.80       1,067.80      1,067.80      1,067.80      1,067.80      1,067.80      1,067.80
OTHER ASSETS
1) TAX DEPOSITS
2) INVESTMENTS IN SUBS
3)
4) (ATTACH LIST)
TOTAL ASSETS                                      502,776.45    577,756.60      580,921.12     645,869.37     706,944.17    727,851.40    724,620.02    720,202.47    718,158.25

                 MOR-2
                                         Case 18-60018 Document 69 Filed in TXSB on 01/08/19 Page 4 of 10


CASE NAME: Garden Oaks Maintenance Organization                        Petition Date: 04/22/2018
                                                                       CASE NUMBER: 18-60018
COMPARATIVE BALANCE SHEETS

                                            Filing Date    MONTH          MONTH          MONTH       MONTH        MONTH        MONTH        MONTH        MONTH
LIABILITIES & OWNER'S EQUITY                     4/11/18      Apr-18        May-18          Jun-18      Jul-18      Aug-18       Sep-18        Oct-18      Nov-18
LIABILITIES:
Post-Petition Liabilities (MOR-4)                                                                       120.26       476.86       598.47       769.31       213.40
Notes Payable - Secured
Priority Debt
Federal Income Tax
FICA/Withholding
Unsecured Debt
Other
TOTAL PRE-PETITION LIABILITIES
TOTAL LIABILITIES
OWNER'S EQUITY (DEFICIT):
Preferred Stock
Common Stock
Additional Paid-In Capital
Retained Earnings: Filing Date
Retained Earnings: Post Filing Date
TOTAL OWNER'S EQUITY (NET WORTH)                                                                     706,823.91   727,374.54   724,021.55   719,433.16   717,944.85
TOTAL LIABILITIES & OWNER'S EQUITY                                                                   706,944.17   727,851.40   724,620.02   720,202.47   718,158.25

                MOR-3
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                    Garden Oaks Maintenance Org., Inc.
         CASE NAME: _________________________________________________                                 18-60018
                                                                                        CASE NUMBER: ___________________



                                    SCHEDULE OF POST-PETITION LIABILITIES
                                                         MONTH          MONTH   MONTH        MONTH            MONTH         MONTH



TRADE ACCOUNTS PAYABLE

TAX PAYABLE:

 Federal Payroll Taxes

 State Payroll & Sales

 Ad Valorem Taxes

 Other Taxes

TOTAL TAXES PAYABLE

SECURED DEBT POST-PETITION

ACCRUED INTEREST PAYABLE

*ACCRUED PROFESSIONAL FEES:

OTHER ACCRUED LIABILITIES:

 1.

 2.

 3.

TOTAL POST-PETITION LIABILITIES (MOR-3)
 * Payment Requires Court Approval.
               MOR-4                                                                                      Revised:6/14/96
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                    Garden Oaks Maintenance Org., Inc.
         CASE NAME: ___________________________________________                                   18-60018
                                                                                    CASE NUMBER: _____________________




                                               AGING OF POST-PETITION LIABILITIES
                                                       MONTH ____________

DAYS              TOTAL            TRADE ACCTS           FED TAXES   STATE TAXES     AD-VALOREM,                  OTHER
                                                                                     OTHER TAXES

  0-30

 31-60

 61-90

  91 +

TOTAL




                                                  AGING OF ACCOUNTS RECEIVABLE

          MONTH

         0-30 DAYS
         31-60 DAYS
         61-90 DAYS
         91 + DAYS
          TOTAL

             MOR-5                                                                            Revised:6/14/96
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CASE NAME: Garden Oaks Maintenance Organization         Petition Date: 04/22/2018
                                                        CASE NUMBER: 18-60018

                                Apr-18         Apr-18          May-18          Jun-18        Jul-18      Aug-18     Sep-18      Oct-18      Nov-18 Running total
Revenues MOR-1                   53.56      82,222.71          179.24       70,495.73    65,411.36    24,183.62       9.77       10.14        9.86    242,575.99

Gross Profits                    53.56      82,222.71          179.24       70,495.73    65,411.36    24,183.62       9.77       10.14        9.86    242,575.99

Selling & Mkting                                                                                         276.85     337.72      512.83      459.77      1,587.17
Gen & Admin                                  2,235.86         1,967.86        3,504.83    4,456.82     2,703.64   3,025.04    4,085.70    1,038.40     23,018.15
Legal (Prof) Fees                            4,953.14        -4,953.14        2,042.65        0.00       652.50       0.00        0.00        0.00      2,695.15

Tot Op Expense                               7,189.00        -2,985.28        5,547.48    4,456.82     3,632.99   3,362.76    4,598.53    1,498.17     25,802.30

Net Income pre TAX               53.56      75,033.71         3,164.52      64,948.25    60,954.54    20,550.63   -3,352.99   -4,588.39   -1,488.31   216,763.83
TAX
Net Income MOR-1                 53.56      75,033.71         3,164.52      64,948.25    60,954.54    20,550.63   -3,352.99   -4,588.39   -1,488.31   216,763.83

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CASE NAME: Garden Oaks Maintenance Organization        Petition Date: 04/22/2018
                                                       CASE NUMBER: 18-60018

                               Apr-18        May-18            Jun-18          Jul-18      Aug-18       Sep-18       Oct-18       Nov-18 6 mo to date

Cash Beginning Mo.         501,655.09     576,688.80      579,853.32      644,801.57    705,876.37   726,783.60   723,552.22   719,134.67

Receipts
Cash Sales                  82,169.15         125.00       70,423.42       65,386.36     24,179.60         0.00        0.00          0.00   242,283.53
Other                           53.56          54.24           72.31           25.00          4.02         9.77       10.14          9.86       238.90
Total Receipts              82,222.71         179.24       70,495.73       65,411.36     24,183.62         9.77       10.14          9.86   242,522.43

Disbursements
Rent                           950.00         950.00           950.00          950.00       950.00       950.00     1,900.00         0.00      7,600.00
Admin & Selling              1,285.86       1,017.86         2,554.83        3,061.56     1,673.89     2,291.15     2,202.69     2,054.08     16,141.92
Legal (Professional)         4,953.14      -4,953.14         2,042.65            0.00       652.50         0.00         0.00         0.00      2,695.15
US Trustee Fees                                                                325.00         0.00         0.00       325.00         0.00        650.00
Total Disbursements          7,189.00      -2,985.28         5,547.48        4,336.56     3,276.39     3,241.15     4,427.69     2,054.08     27,087.07

Net Cash Flow               75,033.71       3,164.52       64,948.25       61,074.80     20,907.23    -3,231.38    -4,417.55    -2,044.22   215,435.36


Cash end mo. MOR-2         576,688.80     579,853.32      644,801.57      705,876.37    726,783.60   723,552.22   719,134.67   717,090.45

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CASE NAME: Garden Oaks Maintenance Organization                                                                            Petition Date: 04/22/2018
                                                                                                                           CASE NUMBER: 18-60018
                                                                                     CASH ACCOUNT RECONCILIATION
                                                                                       MONTH OF November 2018
BANK NAME                                         Prosperity Operating                  Prosperity NonOperating                         Prosperity MnMkt
ACCOUNT NUMBER                                        217186856                               217186869                                     215094013
ACCOUNT TYPE                                           Operating                               No Spend                                  Interest Bearing               Total
BANK BALANCE                                                             66,592.81                            632,025.63                                    18,472.01           717,090.45
DEPOSIT IN TRANSIT                                                                                                                                                                    0.00
OUTSTANDING CHECKS                                                            0.00                                                                                                    0.00
ADJUSTED BANK BALANCE                                                    66,592.81                           632,025.63                                     18,472.01           717,090.45
BEGINNING CASH- PER BOOKS                                                68,646.89                           632,025.63                                     18,462.15           719,134.67
RECEIPTS                                                                      0.00                                 0.00                                          0.00                 0.00
TRANSFERS BETWEEN ACCOUNTS
INTEREST MnMKT ACCT                                                                                                                                              9.86                 9.86
CHECKS/OTHER DISBURSEMENTS                                                2,054.08                                 0.00                                          0.00             2,054.08
ENDING CASH - PER BOOKS                                                  66,592.81                           632,025.63                                     18,472.01           717,090.45


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CASE NAME: Garden Oaks Maintenance Organization                         Petition Date: 04/22/2018
                                                                        CASE NUMBER: 18-60018
PAYMENTS TO INSIDERS AND PROFESSIONALS

                                                  MONTH     MONTH        MONTH      MONTH      MONTH         MONTH    MONTH    MONTH
INSIDERS: NAME/POSITION/COMP TYPE
1.
2.
3.
4.
5.
6.
TOTAL INSIDERS (MOR-1)

                                                  MONTH    MONTH    MONTH    MONTH    MONTH   MONTH   MONTH   MONTH
PROFESSIONALS: NAME/ORDER DATE                      Apr-18  May-18    Jun-18   Jul-18  Aug-18  Sep-18  Oct-18  Nov-18
1. Barsalou & Associates, PLLC                    4953.14 (4953.14) 2042.65     0.00   652.50    0.00   0.00    0.00
2.
3.
4.
5.
6.
TOTAL PROFESSIONALS (MOR-1)                       4953.14   (4953.14)     2042.65       0.00        652.50     0.00     0.00     0.00

                   MOR-9
